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NATIONAL RIGHT TO WORK LEGAL                              BARNETT LAW FIRM
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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DAVID MCCUTCHEON, individually and as
representative of the requested classes.

Plaintiff,                                        Case No.

v.                                                COMPLAINT – CLASS ACTION

COMMUNICATIONS WORKERS OF                         Constitutional Violation Action (42
AMERICA (CWA), LOCAL 7076;                        U.S.C. § 1983), Declaratory Judgment,
COMMUNICATIONS WORKERS OF                         Injunctive Relief, and State Law
AMERICA, AFL-CIO, CLC; JUSTIN                     Conversion Action
NAJAKA, in his official capacity as Director of
the New Mexico State Personnel Office.

Defendants.



                                      INTRODUCTION

        1.    On June 27, 2018, the Supreme Court held it unconstitutional for public-sector

unions and employers to collect/deduct union dues or fees (“forced fees”) from public employees

without their affirmative consent and knowing waiver of their First Amendment rights. Janus v.

AFSCME, Council 31, 138 S.Ct. 2448, 2486 (2018).

        2.    Plaintiff McCutcheon (“McCutcheon”) is a public employee of the State of New
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Mexico and is a member of the employee bargaining unit represented by the Union Defendants.

       3.      After being notified of McCutcheon’s decision to revoke any prior dues deduction

authorization, the State of New Mexico nonetheless continued following Janus to deduct

dues/fees from his paychecks, in furtherance of the Union’s restrictive revocation policies.

       4.      Defendants have violated the First and Fourteenth Amendments to the United

States Constitution and have committed the tort of conversion of property by automatically

having compulsory union fees deducted from McCutcheon and the class members he seeks to

represent (“class members”).

       5.      Defendants      Communications        Workers   of    America     (“CWA”)       and

Communications Workers of America, Local 7076 (“CWA 7076”) (together and hereinafter,

“the Union”) maintain and enforce policies, including the dues deduction provisions of the

existing collective bargaining agreement with the State of New Mexico under which it will

collect, directly or indirectly, union dues from the wages of public employees, even those who

have notified the Union of their resignation from union membership and revocation of their prior

dues deduction authorizations unless and until that notification is provided to the Union during a

specified limited window period that occurs in the future.

       6.      Defendants are violating the First Amendment rights of McCutcheon and of the

proposed class of public employees subject to its revocation policy, by collecting/deducting

union dues from their wages without their consent and severely restricting their exercise of their

First Amendment right under Janus not to subsidize unions.

       7.      McCutcheon seeks for himself and similarly situated employees: (a) a declaratory

judgment that the revocation policies of the Union and the collection/deduction of union dues

without his consent, including the application of the dues deduction checkoff provisions of the



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collective bargaining agreement, are unconstitutional and unenforceable; (b) injunctive relief that

prohibits the maintenance and enforcement of the unconstitutional policies, actions and

provisions; and (c) compensatory and nominal damages.

       8.      McCutcheon brings this civil rights action, pursuant to 42 U.S.C. § 1983 and this

state tort law of conversion of property for replevin and restitution under the Court’s

supplemental jurisdiction, on behalf of himself and all other similarly situated, seeking: (a) a

judgment declaring Defendants’ practices of forcing them to pay fees to fund union activity of

any kind violate the First Amendment and was an illegal conversion of their property; (b)

judgment declaring the forced fee provisions of the collective bargaining agreement covering

McCutcheon’s and class members’ bargaining unit violate the First Amendment and are null and

void; (c) judgment declaring Article 4 Section 1c of the collective bargaining agreement, which

limits employees’ dues deduction revocation rights to a yearly two-week window in December,

violates the First Amendment and is null and void; (d) judgment declaring Article 3 Section 1 of

the collective bargaining agreement, which compelled employees to pay nonmember fees to the

Union and affiliates as a condition of employment, violates the First Amendment and is null and

void; (e) damages from Defendants for, or replevin, refund or restitution of all unlawfully seized

forced fees and conversion from McCutcheon and class members that Defendants demanded or

received; (f) injunctive relief that prohibits the maintenance and enforcement of the

unconstitutional policies, actions and provisions, along with compensatory and nominal

damages, and (g) costs and attorneys’ fees under 42 U.S.C. § 1988.

                                JURISDICTION AND VENUE

       9.      This is an action that arises under the Federal Civil Rights Act of 1871, 42 U.S.C.

§ 1983, to redress the deprivation, under color of state law, of rights, privileges and immunities



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secured to Plaintiff McCutcheon and class members by the Constitution of the United States,

particularly the First and Fourteenth Amendments.

        10.     The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. §

1343.

        11.     This action is an actual controversy in which Plaintiff McCutcheon seeks a

declaration of his rights under the Constitution of the United States. Pursuant to 28 U.S.C. §§

2201-2202, this Court may declare Plaintiff McCutcheon’s rights and grant further necessary and

proper relief based thereon, including injunctive relief pursuant to Federal Rule of Civil

Procedure 65.

        12.     Plaintiff McCutcheon also requests this Court to take supplemental jurisdiction,

pursuant to 28 U.S.C. § 1367, over his state tort law of conversion of property for replevin and

restitution, and any other legal or equitable cause of action that offers refund or restitution of

personal property that was unlawfully seized or received by or on behalf of Defendants.

        13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the claims

arise in this judicial district and division and Defendants operate and do business in this judicial

district and division.

                                              PARTIES

        14.     Plaintiff David McCutcheon (“McCutcheon”) resides in Bernalillo County, New

Mexico and works in Santa Fe County, New Mexico.

        15.     Defendant Communications Workers of America, Local 7076 (“CWA 7076”)

whose office is located at 460 St. Michael’s Drive, Suite 1001, Santa Fe, New Mexico 87505 is a

local public sector labor union and a branch of Defendant Communications Workers of America

(“CWA”). The Union is the exclusive representative for collective bargaining purposes of many



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employees of the State of New Mexico.

        16.     Defendant Communications Workers of America, AFL-CIO, CLC (“CWA”) is a

national labor union with Defendant CWA 7076 as one of its branches.             Its District 7

geographical subdivision conducts business throughout New Mexico and is headquartered at

8085 East Prentice Avenue, Greenwood Village, Colorado 80111-2745. The Union entered into

a collective bargaining agreement with the State of New Mexico, which terms are enforced on

bargaining unit members of the State of New Mexico.

        17.     Defendant Justin Najaka is the Director of the New Mexico State Personnel

Office (“SPO”), the state government agency that provides personnel administration to New

Mexico State employees in accordance with the New Mexico Personnel Act. N.M. Stat. Ann. §

10-9-2. SPO is responsible for deducting dues from Plaintiff McCutcheon and remitting them to

the Union. Defendant Najaka is an agent of the State of New Mexico and is being sued in his

official capacity.

                                  FACTUAL ALLEGATIONS

        18.     Plaintiff David McCutcheon, an information systems professional, is an employee

of the New Mexico Department of Information Technology (“DoIT”), a government agency of

the State of New Mexico.

        19.     For a number of years, McCutcheon was detailed to the New Mexico Governor’s

Office. In such capacity, he was exempted from having to pay Union membership dues or

nonmember forced fees.

        20.     Upon his return to the DoIT Offices, the Union informed McCutcheon that as a

condition of employment, he was required to either pay full dues as a Union member or pay

nonmember forced fees.

        21.     On April 21, 2017, McCutcheon completed a CWA “Membership Application”

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and a CWA “Authorization of Deduction from Salary Equivalent Union Dues.” The latter was a

checkoff card authorizing the deduction of nonmember fees from McCutcheon’s wages. SPO

personnel informed McCutcheon that he was going to be regarded as an equivalent union dues

(forced fees) payer.

          22.   The    Union’s   “Membership     Application”    Form    states:   “Yes,   I   want

Communications Workers of America to be my collective bargaining representative, and I accept

membership in the Union. I authorize you to deduct Union dues from my pay and send them to

CWA.”

          23.   The Union’s “Authorization of Deduction from Salary Equivalent Union Dues”

states:

                “I hereby authorize you to deduct each pay period from my salary or
                wages the amount equal to regular Union dues as certified by the
                Secretary-Treasurer of the Communications Workers of America. This
                authorization is voluntarily made and is neither conditioned on my present
                or future membership in the Union, nor is it to be considered as a quid pro
                quo for membership. Each amount so deducted shall be remitted to the
                Treasurer of Communications Workers of America or their authorize (sic)
                agent. If for any reason the Employer fails to make a deduction, I
                authorize the Employer to make such a deduction in a subsequent payroll
                period.”

          24.   Between at least April 2017 and June 2018, McCutcheon was regarded as a Union

nonmember pursuant to the signed “Authorization of Deduction from Salary Equivalent Union

Dues.” As such, forced fees were automatically deducted from his wages and transferred to the

Union. Pursuant to the forced fee provision of the collective bargaining agreement, McCutcheon

was forced to either join the union and pay dues or, alternatively, to pay nonmember fees to the

Union as a condition of employment.

          25.   Defendants imposed and received these forced fees from McCutcheon and class

members pursuant to the collective bargaining agreement provision between the State of New


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Mexico and the Union that authorized these automatic deductions and transfer of McCutcheon’s

wages, directly or indirectly, to the Union. The collective bargaining agreement’s forced fee

provision states that “[e]mployees who have completed their probationary period and who are

not members of the Union shall, as a condition of continuing employment, pay to the Union each

pay period a “fair share” payment in the amount certified by the Union (Agency Fee Payer).”

2009-2011 CWA/State of New Mexico Collective Bargaining Agreement Article 3 Section 1.

Available at: http://cwa7076.org/resources/union-contracts-2/state-of-new-mexico-contract/ (last

visited December 11, 2018).

       26.    In keeping with the forced fee provisions in the collective bargaining agreement,

the State of New Mexico, through the SPO, automatically deducted moneys from McCutcheon’s

and class members’ wages, without their knowing waiver of their First Amendment rights. On

July 7, 2018, McCutcheon notified the Union, in writing, that he did not consent to any

deduction of union dues or fees from his wages. A Union official responded in writing by stating

that the request had been “submitted for processing.”           Notwithstanding McCutcheon’s

notification, in September 2018, the State of New Mexico started deducting full union dues from

McCutcheon’s wages without his consent.        The collective barraging agreement’s full dues

deduction provision states that the “[e]mployer will honor voluntary uniform Union membership

dues deduction authorizations. The amount of dues shall be certified in writing and shall be

certified in writing and shall not include special assessments, penalties, or fines of any type.”

2009-2011 CWA/State of New Mexico Collective Bargaining Agreement Article 4 Section 1a.

Available at: http://cwa7076.org/resources/union-contracts-2/state-of-new-mexico-contract/ (last

visited December 11, 2018).




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       27.     Neither the Union’s membership form or forced fee checkoff authorization

contain language that informs potential signatories: (a) that they have a First Amendment right

not to subsidize the union and its speech; or (b) that, by signing the cards, they are waiving their

First Amendment right to not subsidize the union and its speech.

       28.     The Union’s revocation policy states:

               “The duty of the Employer to honor membership dues deduction
               authorizations shall continue until the employee instructs the Employer
               and the Union in writing to end such deduction, as long as such employee
               instruction to end dues deduction is made during the first two (2) full
               calendar weeks of December of any year that this Agreement is in effect.”

               2009-2011 CWA/State of New Mexico Collective Bargaining Agreement Article
               4 Section 1c. Available at: http://cwa7076.org/resources/union-contracts-2/state-
               of-new-mexico-contract/ (last visited November 9, 2018).

       29.     The Union’s revocation policy is enforced by the State of New Mexico that, in

coordination with the Union and at its behest, deducts union dues from the employees’ wages

and remits those monies to the Union pursuant to dues deduction agreements and dues checkoff

provisions.   The Union has failed and refused to terminate its revocation policy after

McCutcheon’s notification of revocation of consent.

       30.     Pursuant to its revocation policy, the Union continued to collect and have the

State of New Mexico deduct union dues from McCutcheon and other State employees after they

notified the union that they did not consent to paying union dues or forced fees. Unless enjoined

from so doing, the Union and the State of New Mexico will continue to collect/deduct union

dues from McCutcheon and other State employees unless and until a specified window period is

reached.

       31.     On information and belief, the Union has enforced, and will continue to enforce,

its revocation policy against public employees by collecting and having public employers deduct



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union dues from public employees who notified the union that they do not consent to paying

union dues.

       32.       At all relevant times, McCutcheon has been subject to the exclusive

representation of the Union and subject to the collective bargaining agreement between the

Union and the State of New Mexico.

                                 CLASS ACTION ALLEGATIONS

       33.       Plaintiff McCutcheon brings this case as a class action on behalf of the Forced

Fee Class pursuant to Federal Rule of Civil Procedure 23(b)(3) for himself and for all others

similarly situated, and any subclasses deemed appropriate by this Court.

       34.       Plaintiff McCutcheon brings this case as a class action on behalf of the Full Dues

Class pursuant to Federal Rules of Civil Procedure 23(b)(1)(A) and (b)(2), and, alternatively,

23(b)(3), for himself and for all others similarly situated, and any subclasses deemed appropriate

by this Court.

       35.       Plaintiff McCutcheon is the class representative of the Forced Fee Class, which

consists of all individuals: (a) who are New Mexico State employees exclusively represented for

purposes of collective bargaining by the Union as described above and (b) who prior to June 27,

2018, were compelled to pay a nonmember fee to the Union as a condition of their employment.

The class includes everyone who comes within the class definition at any time from three years

prior to the commencement of this action until the conclusion of this action. The definition of

the class is unambiguous.

       36.       Plaintiff McCutcheon is the class representative of the Full Dues Class, which

consists of all individuals: (a) who are New Mexico State employees exclusively represented for

purposes of collective bargaining by the Union as described above, (b) who resigned union



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membership and revoked their consent to the payment of any union dues and (c) who had or are

still having union dues deducted from their wages in spite of such resignation and revocation

request. The class includes everyone who comes within the class definition at any time from the

time of resignation from union membership and revocation of consent to the payment of dues.

The definition of the class is unambiguous.

       37.     Upon information and belief, there are likely hundreds of class members in each

class. Their number is so numerous and in varying locations and jurisdictions across New

Mexico that joinder is impractical. The precise number of class members in each class is

unknown to McCutcheon, but it is clear that the number greatly exceeds the number to make

joinder feasible.

       38.     There are questions of law and fact common to all class members in each class

over the questions affecting only individual class members. Factually, the State of New Mexico

continued to deduct union dues/fees from all class members of the Full Dues Class despite their

resignation of union membership and revocation of their authorization to the deduction of union

dues or fees that was authorized at a time when the relevant collective bargaining agreement

included a forced fee provision and prior to June 27, 2018, when the U.S. Supreme Court in

Janus v. AFSCME recognized the First Amendment right not to subsidize union activity. These

deductions violate McCutcheon’s and Full Dues class members’ First Amendment rights.

       39.     McCutcheon’s claims and defenses are typical of other members of the Forced

Fee Class. Factually, the State of New Mexico seized nonmember forced fees from all members

of the Forced Fee Class, without their affirmative and knowing consent, in violation of their First

Amendment right to not subsidize union activity, which was recognized by the U.S. Supreme

Court in Janus v. AFSCME.. These deductions violate McCutcheon’s and Forced Fee class



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members’ First Amendment Rights.

       40.     McCutcheon’s claims and defenses are typical of other members of the Full Dues

Class because the State of New Mexico is currently seizing, or has seized, full union dues from

all class members in violation of their First Amendment right to not subsidize union activity

without their affirmative consent and known waiver of that First Amendment right which was

recognized by the U.S. Supreme Court in Janus v. AFSCME on June 27, 2018.

       41.     McCutcheon can fairly and adequately represent the interests of both classes and

has no conflict with each other, similarly situated class members. McCutcheon also has no

interest antagonistic to others who have been subjected by the State of New Mexico and the

Union to the aforementioned union dues/fee deductions. McCutcheon’s counsel will fairly and

adequately protect the interests of the class members in both classes.

       42.     For the Forced Fee Class identified above, the Union’s duty to return all forced

fees collected up to three years prior to the commencement of this action until the conclusion of

this action, applies equally to McCutcheon and these class members, and the prosecution of

separate actions by individual class members would create a risk of inconsistent or varying

adjudications, which would establish incompatible standards of conduct for Defendants.

       43.     For the Full Dues Class identified above, each of the Union’s and the State of

New Mexico’s duty to cease the union dues deductions and return all monies deducted since

McCutcheon’s each class member’s resignation of union membership and revocation of his or

her authorization of union dues deductions, applies equally to McCutcheon and these class

members, and the prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications, which would establish incompatible standards of

conduct for Defendants.



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       44.     For each of the classes identified above, the State of New Mexico and the Union

have acted to deprive McCutcheon and the class members of their constitutional rights on

grounds generally applicable to all, thereby making appropriate declaratory, injunctive, and other

equitable relief with regard to each respective class as a whole.

       45.     Each respective class action can be maintained under FRCP Rule 23(b)(1)(A)

because separate actions by class members in each class run the risk of inconsistent adjudications

on the underlying legal issues.

       46.     Each respective class action can be maintained under Rule 23(b)(1)(B) because an

adjudication determining the constitutionality of union dues/fees deductions in the

aforementioned circumstances, as a practical matter, will be dispositive of the interests of all

class members in each class.

       47.     Each respective class action can be maintained under Federal Rule of Civil

Procedure 23(b)(3) because questions of law or fact common to the members of the respective

classes predominate over any questions affecting only individual members, in that the important

and controlling questions of law or fact are common to all members of each respective class, i.e.

whether the aforementioned dues/fees deductions violate their First Amendment rights and

whether certain dues deduction agreements constitute a valid waiver of a constitutional right if

they are signed when the relevant collective bargaining agreement included a forced fee

provision and before the First Amendment right not to subsidize union activity was recognized

by the U.S. Supreme Court in Janus v. AFSCME on June 27, 2018.

       48.     Each respective class action is superior to other available methods for the fair and

efficient adjudication of the controversy, inasmuch as the individual respective class members

are deprived of the same rights by the respective Defendants’ actions, differing only in the



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amount of money deducted. This fact is known to Defendants and easily calculated from

Defendants’ business records. The limited amount of money involved in the case of each

individual’s claim would make it burdensome for the respective class members to maintain

separate actions.

       49.     The illegal and unconstitutional actions by Defendants were taken pursuant to the

collective bargaining agreement checkoff provisions and the Union’s policies restricting the right

to revoke prior dues deduction authorizations, and constitute a concerted scheme resulting in a

violation of McCutcheon’s and class members’ First Amendment rights.

                                      CAUSES OF ACTION

       50.     Plaintiff McCutcheon re-alleges and incorporates by reference the paragraphs set

forth above in each Count of the Complaint.

       51.     The Union acts under color of state law, N.M. Stat. Ann. § 10-7E-17, by

maintaining and enforcing its revocation policy and by collecting and having the State of New

Mexico deduct union dues from public employees who have notified the Union and/or the State

of New Mexico that they do not consent to paying union dues.

       52.     The Supreme Court in Janus held that “[n]either an agency fee nor any other

payment to the union may be deducted from a nonmember’s wages, nor may any other attempt

be made to collect such payment, unless the employee affirmatively consents to pay.” 138 S. Ct.

at 2486.

                                           COUNT I

    (Full dues deductions without consent and waiver of First Amendment rights violate 42
                                       U.S.C. § 1983
                         and the First and Fourteenth Amendments)




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       53.     The Union’s maintenance and enforcement of its restrictive revocation policies

and deduction of union dues from the wages of McCutcheon and Full Dues class members

without the affirmative authorization and knowing waiver of their First Amendment rights

violates McCutcheon’s and class members’ First Amendment rights to free speech and

association, as secured against state infringement by the Fourteenth Amendment to the United

States Constitution and 42 U.S.C. § 1983.

       54.     McCutcheon and class members are suffering the irreparable harm and injury

inherent in a violation of First Amendment rights, for which there is no adequate remedy at law,

as a result of being subjected to Defendants’ checkoff and restrictive revocation policies,

provisions and continued deductions of union dues.

                                            COUNT II

                         (Forced fee deductions violate 42 U.S.C. § 1983
                           and the First and Fourteenth Amendments)
       55.     By and through N.M. Stat. Ann. § 10-7E-9 and the terms of the forced fee

provisions of the collective bargaining agreement between the State of New Mexico and CWA,

as well as the automatic seizure of forced fees from plaintiffs’ and class members’ wages,

Defendants have compelled McCutcheon and class members to financially support the respective

unions and affiliates.

       56.     As a result of the actions set forth in the forgoing paragraph, Defendants have

violated McCutcheon’s and class members’ First Amendment rights, as secured by the

Fourteenth Amendment to the United States Constitution and 42 U.S.C. § 1983, not to associate

with or financially support a labor organization and its affiliates as a condition of employment, or

to have forced fees deducted from their wages without their affirmative consent and knowing

waiver of their First Amendment rights and transferred, directly or indirectly, to Defendants.

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                                           COUNT III

   (State Law Conversion of Property for Replevin and Restitution of Property)


       57.    During the employment of McCutcheon and all class members within the

bargaining unit represented by the Union and its affiliates, McCutcheon and class members

earned lawful wages from the State of New Mexico.

       58.    Although McCutcheon and Forced Fee class members did not consent to the

transfer of any of their wages to the Union and its affiliates while they were not considered

Union members, out of each paycheck, the Union unlawfully and without consent received,

directly or indirectly, the seized private property, the wages, of McCutcheon and Forced Fee

class members and used the unauthorized deductions from their wages for the Union’s own

uses and purposes.

       59.    Defendants ceased the unauthorized nonmember forced fee deductions as of

June 27, 2018, but did not return the deductions taken prior to such date.

       60.    The Union and its affiliates have committed the tort of conversion of property

by appropriating the wages of Plaintiff McCutcheon and Forced Fee class members without

securing their knowing, affirmative and freely given consent. They are liable in an action

for tort, conversion of property for replevin and restitution (and any other legal or equitable

causes of action). Plaintiff McCutcheon and Forced Fee class members are entitled to the

rebate or return of, or damages for, the unlawful seizure of their personal property by the

deduction of forced fees from their wages without their consent and transfer, directly or

indirectly, to the Union.

       61.    This Court has original jurisdiction over Counts I and II raising violations of

the First and Fourteenth Amendments under 42 U.S.C. § 1983.


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        62.   The state law claims of Count III are related to the claims of Counts I and II

and arise out and from part of the same case or controversy so that the Court should take

supplemental jurisdiction over the state law claims of Count III, pursuant to 28 U.S.C. §

1367.

                                    PRAYER FOR RELIEF

   Wherefore, Plaintiff McCutcheon requests that this Court:

        A.    Class Action: Enter an order, as soon as practicable, certifying this case as a class

action, certifying the two classes as defined in the complaint, certifying McCutcheon as class

representative for both classes, and appointing McCutcheon’s counsel as class counsel for the

classes;

        B.    Declaratory Judgments: (i) Enter a declaratory judgment that all pertinent

statutes, forced fee provisions of the collective bargaining agreement that compelled

McCutcheon and class members to pay nonmember fees to the Union and affiliates as a

condition of employment, the deductions of forced fees, and the receipt and use of those forced

deductions by Defendants are unconstitutional under the First Amendment, as secured against

state infringement by the Fourteenth Amendment to the United States Constitution, and are null

and void; (ii) Enter a declaratory judgment that Defendants committed the tort of conversion in

entering into and enforcing forced fee provisions and receiving and using McCutcheon’s and

class members’ forced fee deductions; (iii) Enter a declaratory judgment that the revocation

policies put in place by the Union are unconstitutional under the First Amendment, as secured

against State infringement by the Fourteenth Amendment and 42 U.S.C. § 1983, and

unenforceable; (iv) Enter a declaratory judgment that the Union violates the First Amendment, as

secured against State infringement by the Fourteenth Amendment and 42 U.S.C. § 1983, by



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collecting and having the State of New Mexico deduct union dues from public employees who

do not consent to paying union dues or who notify the union that they no longer consent to

paying union dues.

       C.      Damages: Enter a judgment awarding McCutcheon and class members

compensatory damages, refunds or restitution in the amount of forced fees deducted or required

to be paid, directly or indirectly, to the Union from their wages without their affirmative and

knowing consent.

       D.      Replevin or Restitution: Enter a judgment for Defendants’ conversion of

McCutcheon’s and Forced Fees class members’ wages, awarding them replevin or restitution of

the amount of forced fees deducted or required to be paid, directly or indirectly, to the Union

from their wages without their written consent.

       E.      Injunctive Relief: (i) Permanently enjoin the Union, along with their officers,

agents, servants, employees, attorneys, and any other person or entity in active concert or

participation with them, from maintaining and enforcing its revocation policies and from

collecting and having public employers deduct union dues from public employees who notify the

union that they do not consent to paying union dues; (ii) Permanently enjoin the State of New

Mexico from carrying out dues deductions— pursuant to the Union’s revocation policies— from

employees’ paychecks; (iii) Order Defendants to reimburse to class members the amount of

money equal to the unlawfully and improperly withheld union dues from the date of demand of

revocation of consent and assertion of First Amendment rights by the class members, plus

applicable interest.

       F.      Costs and Attorneys’ Fees: Award Plaintiff McCutcheon and class members

their costs and reasonable attorneys’ fees pursuant to the Civil Rights Attorneys’ Fees Award Act



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of 1976, 42 U.S.C. § 1988.

          G.   Other Relief: (i) Require the Union to provide McCutcheon and all class

members with written notice that its revocation policies are unconstitutional and unenforceable

and that they can exercise their First Amendment right to not pay union dues without their

consent at any time; and (ii) Grant other and additional relief as the Court may deem just and

proper.

RESPECTFULLY SUBMITTED.

Date: December 20, 2018


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